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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


 Trudy Eiiana Munoz Rueda,                         )
       Petitioner,                                 )
                                                   )
 V.                                                )           l:14cv699(LMB/IDD)
                                                   )
 Harold Clarke,                                    )
       Respondent.                                 )

                                    MEMORANDUM OPINION


        Trudy Eiiana Munoz Rueda, a Virginia inmate proceeding through counsel, has filed a

 petition for a writ of habeas corpuspursuant to 28 U.S.C. § 2254, challenging the

 constitutionality of her conviction by a jury in the Circuit Court for Fairfax County of felony

 child neglect and willful or negligent cruelty to a child. On August 18, 2014, respondent filed a

 Motion to Dismiss and Rule 5 Answer, along with a supporting brief Petitioner has filed a

 response to the Motion to Dismiss, to which respondent has replied. Accordingly, this matter is

 now ripe for disposition.' For the reasons that follow, respondent's Motion to Dismisswill be

 granted, and the petition will be dismissed with prejudice.

                                           I. Background

        On July 20, 2009, petitioner was indicted in Fairfax County for child abuse or neglect, in



   'Petitioner's argumentthat she is entitledto an evidentiary hearingin this matter,^ Pet. at 20 -
 24, is not well taken. In Cullen v. Pinholster. U.S. , 131 S. Ct. 1388,1400 (April 4,2011),
 which superceded thelawupon which petitioner relies, theSupreme Court held that"[i]fa claim has
 been adjudicated on the merits in a state court, a federal habeas petitioner must overcome the
 limitation of § 2254(d)(1) on the record that was before that state court." Thus, "[i]n such a
 circumstance, any evidentiary hearing in federal court is unwarranted, as new evidence adduced
 during such a hearing could not be considered in making the determination under § 2254(d)(1)."
 Williams v. Stanlev. 581 F. App'x 295,296 (4th Cir. Aug. 20, 2014).
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 that argument, as follows:

                ... Munoz-Rueda argues that her counsel failed to review the medical
                records which would have revealed,one, that [N.W.] had an infection;
                two, [N.W.] was likely dehydrated and had pre-existing head trauma;
                three, that [N.W.] had a family history that was unexplored; four, that
                Inova Fairfax Hospital arrived at a diagnosis of Shaken Baby
                Syndrome almost instantaneously; and five, that Inova medical
                professionals conducted no reasonable diagnosis of possible
                alternative causes for his symptoms.

                There was no evidence presented that counsel did not review the
                medical records. In fact it's clear to the Court on the direct and cross-
                examination of the witnesses that counsel had reviewed the records
                and were familiar with them. Although one of the attorneys may be
                more experienced in dealing with the medical records and was given
                the responsibility of developing medical issues at trial it does not
                amoimt to ineffective assistance of counsel.


                As anticipated and appropriate they also relied on the expertise of
                their expert who testified that they had reviewed medical records.
                Furthermore, there is no credible evidence that [N.W.] suffered from
                any infection prior to this accident. The fact that [the] child was fussy
                does not in and of itself indicate there was a pre-existing infection.
                There was no reference to any fever or cough or admission in the
                records and there was testimony that the fever that occurred later was
                most likely the result of the intubation and ventilation.

               None ofMunoz-Rueda's experts even noted fever for being a factor in
               their opinions. Moreover, although it may have been Dr. Barnes'
               explanation for the venous cortical thrombosis there is no evidence
               that would have accounted for the other findings related to the injuries
               - the left paracortical contusion and injury to the corpus callosum. In
               fact Munoz-Rueda[] has presented conflicting testimony through her
               experts as to the significance of the thrombosis cortical vein. There
                was also no evidence that cross examination on the referenced family
                history would have made a difference in the diagnosisand thejury has
                been given the opinion that some of the bleeding could be associated
                and related to the trauma of childbirth.

                The medical records and the attached affidavit from counsel also do
               not support Munoz-Rueda's conclusion that there was a rush to
               judgment thatthe injuries were Shaken Baby Syndrome, or thatthere
                was no reasonabledifferentialdiagnosisofpossiblealternative causes

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